             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                         CIVIL NO. 1:08CV294-T-02
                              (1:06CR43-01-T)


ROBERT B. KELLER,                        )
                                         )
           Petitioner,                   )
                                         )
           vs.                           )     MEMORANDUM AND
                                         )        ORDER
UNITED STATES OF AMERICA,                )
                                         )
         Respondent.                     )
______________________________           )


     THIS MATTER is before the Court on Petitioner’s motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255, filed July 2,

2008. No response is necessary from the Government.



                         I. PROCEDURAL HISTORY

     Petitioner and four co-Defendants were charged with conspiring to

manufacture and possess with intent to distribute 500 grams or more of a

mixture or substance containing a detectable amount of methamphetamine

and 500 grams or more of a mixture or substance containing a detectable

amount of methamphetamine (also known as “ice”), all in violation of 21



   Case 1:06-cr-00043-MR-WCM       Document 141     Filed 07/10/08   Page 1 of 8
                                      2

U.S.C. §§ 841 and 846. Bill of Indictment, filed June 5, 2006.

Subsequent to his arraignment, Petitioner entered into a plea agreement

with the Government pursuant to which he agreed to plead guilty to the

conspiracy charge in the indictment. Plea Agreement, filed September 6,

2006. By the terms of that agreement, Petitioner stipulated that the amount

of methamphetamine mixture that was known or reasonably foreseeable to

him was at least 500 grams but less than 1.5 kilograms. Id. at 2. The plea

agreement also advised the Petitioner that he faced a mandatory minimum

sentence of 10 years and a maximum term of life imprisonment. Id. at 1.

Petitioner’s plea agreement also contained a waiver provision by which he

forfeited his right to contest his conviction or sentence by way of appeal or

post-conviction proceeding, except on the grounds of ineffective assistance

of counsel and/or prosecutorial misconduct. Id. at 5.

      Soon after filing his plea agreement, Petitioner retained a new

attorney and his previously retained attorney was allowed to withdraw. See

Notice of Appearance, filed September 13, 2006 (Jack W. Stewart);

Motion to Withdraw, filed September 14, 2006 (C. Gary Triggs); Order,

filed September 15, 2006 (allowing Triggs’ motion to withdraw). The




   Case 1:06-cr-00043-MR-WCM       Document 141     Filed 07/10/08   Page 2 of 8
                                       3

plea agreement was re-filed to include new counsel’s signature. Plea

Agreement, filed September 15, 2006, at 11.

      On September 15, 2006, Petitioner appeared with replacement

counsel before the Magistrate Judge and formally entered his guilty plea.

During that proceeding, the Magistrate Judge engaged Petitioner in the

standard, lengthy plea colloquy pursuant to Rule 11 to ensure that his guilty

plea was knowingly and voluntarily made and entered. Rule 11 Inquiry

and Order of Acceptance of Plea, filed September 15, 2006. The

Magistrate Judge asked Petitioner, inter alia, if he had discussed his right

to appeal and if he understood that by signing the plea agreement and

entering the guilty plea he waived his rights to directly appeal his conviction

or sentence, or to collaterally challenge those matters in a post-conviction

proceeding. Id. at 8. Petitioner stated, under oath, that he understood the

consequences of those waivers. Id. In response to additional questioning

by the Magistrate Judge, Petitioner stated that he was entering his guilty

plea because he was, in fact, guilty of the conspiracy charge and that he

was satisfied with his attorney’s services. Id. at 7-8. Based upon these

and the other answers given by Petitioner, the Magistrate Judge found that

his guilty plea was knowingly and voluntarily made, that he understood the




   Case 1:06-cr-00043-MR-WCM        Document 141      Filed 07/10/08   Page 3 of 8
                                       4

charges, penalties and consequences of that plea, and accepted his guilty

plea. Id. at 9.

      On June 25, 2007, the Court held a sentencing hearing during which

the parties stipulated that the presentence report provided a factual basis

to support Petitioner’s guilty plea. Transcript of Sentencing Hearing,

filed January 2, 2008, at 2. The Court inquired of counsel regarding

objections to “the two-level enhancement for possession of the gun”

recommended by the presentence report. Id. at 4; see also, Presentence

Investigation Report, revised May 21, 2007, at 17. Counsel advised the

Court that it was not his “intention to file these objections to otherwise

affect the calculations of the guidelines. Both objections had to do with the

location of weapons that were seized at or about the time of [Petitioner’s]

arrest.” Id. In other words, counsel’s objections were not directed to the

enhancement, but only to the location of two of the weapons seized.

Presentence Report, supra; see also, Transcript, at 4-5. The Court

inquired specifically if counsel wished to be heard regarding the two-level

enhancement. Petitioner’s counsel advised, “No, sir. No, sir. We do not.”

Id. at 5. The Court adopted the calculations set forth in the presentence

report, namely that Petitioner’s total offense level was 31, his criminal




   Case 1:06-cr-00043-MR-WCM         Document 141     Filed 07/10/08    Page 4 of 8
                                       5

history category was I, and his corresponding range of imprisonment was

108 to 135 months. Id. at 6; Presentence Report, at 14. After hearing

from the parties regarding punishment, the Court sentenced Petitioner to

the 120-month statutory mandatory minimum term of imprisonment.

Judgment in a Criminal Case, filed July 3, 2007. Petitioner did not file a

notice of appeal.

      On July 2, 2008, Petitioner timely filed his § 2255 motion raising two

claims, one of which is that his attorney was ineffective for having failed to

honor Petitioner’s request to file an appeal and/or to discuss Petitioner’s

appellate options with him. Petitioner’s Motion, at 5.




                              II. DISCUSSION

      The law is well settled that an attorney’s failure to file an appeal when

requested by his client to do so is per se ineffective assistance of counsel,

irrespective of the merits of the appeal. United States v. Poindexter, 492

F.3d 263 (4 th Cir. 2007); United States v. Peak, 992 F.2d 39, 42 (4 th Cir.

1993); see also Evitts v. Lucey, 469 U.S. 387, 391-405 (1985) (same).

Indeed, the Fourth Circuit agreed with a petitioner’s assertion that “an

attorney who disregards his client’s unequivocal instruction to file a timely




   Case 1:06-cr-00043-MR-WCM       Document 141     Filed 07/10/08   Page 5 of 8
                                       6

notice of appeal acts in a manner that is both professionally unreasonable

and presumptively prejudicial[.]” Poindexter, supra, at 267. That Court

also held that counsel’s conduct would be prejudicial under such

circumstances, notwithstanding whether the proposed appellate claim(s)

involved a matter which was covered by a waiver provision, or the probable

lack of success of such an appeal. Id. at 273. In cases such as this one, a

petitioner may be “obtain[ing] little more than an opportunity to lose at a

later date,” but that is a statutory right which simply cannot be taken away.

Id; see also Rodriguez v. United States, 395 U.S. 327 (1969) (noting

that defendants have an absolute statutory right to a direct appeal).

      Moreover, the Supreme Court has observed that an attorney’s failure

to make “a reasonable effort to discover the defendant’s wishes” can

constitute ineffective assistance. Roe v. Flores-Ortega, 528 U.S. 470, 478

(2000); see also United States v. Witherspoon, 231 F.3d 923 (4 th Cir.

2000) (discussing when failure to consult with client concerning

whether to appeal constitutes ineffective assistance).

      Here, Petitioner has alleged that his right to a direct appeal and,

therefore, the effective assistance of counsel, was violated by counsel’s

failure to honor his request for a direct appeal or to even discuss with




   Case 1:06-cr-00043-MR-WCM       Document 141     Filed 07/10/08   Page 6 of 8
                                       7

Petitioner his appellate options. More particularly, Petitioner states that

immediately after he was sentenced, he advised counsel that he wanted an

appeal; that counsel initially stated that there was nothing to appeal; that

counsel then promised to discuss with Petitioner his appellate options; that

counsel never discussed the appeal with him; and that counsel failed to

respond to any of Petitioner’s attempts to contact him. Exhibit 2, Affidavit

of Robert B. Keller, attached to Petitioner’s Motion, ¶ 5.

      Even if the Court were to require the Government to file a response

with an affidavit from Petitioner’s former attorney denying this allegation,

the relevant legal precedent makes it necessary for the Court to grant

Petitioner’s motion to vacate only as to that limited issue, thereby allowing

him to proceed with a direct appeal. The prescribed remedy is to vacate

the original Judgment and enter a new Judgment from which an appeal can

be taken.

      Therefore, in accordance with the case law of this Circuit, the Court

will vacate the original judgment, enter an amended judgment which

reimposes the same sentence, and file a notice of appeal on Petitioner’s

behalf. Petitioner’s remaining claim, i.e., his counsel was ineffective for

having failed to challenge the firearm enhancement, will be dismissed




   Case 1:06-cr-00043-MR-WCM        Document 141      Filed 07/10/08   Page 7 of 8
                                    8

without prejudice. See United States v. Killian, 2001 WL 1635590 (4 th

Cir. 2001) (noting that where district court grants motion to vacate

under Peak, the court must defer ruling on petitioner’s remaining

claims).




                               III. ORDER

     IT IS, THEREFORE, ORDERED that Petitioner’s motion to vacate,

set aside, or correct judgment pursuant to 28 U.S.C. § 2255 is ALLOWED

IN PART as reflected by the Judgment filed herewith.

                                    Signed: July 10, 2008




   Case 1:06-cr-00043-MR-WCM   Document 141     Filed 07/10/08   Page 8 of 8
